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10

11                           UNITED STATES DISTRICT COURT

12                    FOR THE CENTRAL DISTRICT OF CALIFORNIA

13   UNITED STATES OF AMERICA,                  No. 2:20-cr-00390-AB

14              Plaintiff,                      ORDER UNSEALING CASE

15                   v.

16   JORGE RUBEN CAMARGO-CLARKE,

17              Defendant.

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19          For good cause shown, IT IS HEREBY ORDERED THAT:
20          The above-titled case and the documents filed therein to date
21   shall be unsealed.      The Clerk’s Office may provide certified copies
22   of docket entries in this case, including the indictment and arrest
23   warrant, upon the request of the government.
24

25   February 25, 2022

26   DATE                                   HONORABLE ANDRÉ BIROTTE JR.
                                            UNITED STATES DISTRICT JUDGE
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